           Case 1:21-cv-02527-ELR Document 15 Filed 09/24/21 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


THOMAS N. WILLIAMS,                       *
                                          *
               Plaintiff,                 *
                                          *
      v.                                  *         1:21-CV-02527-ELR
                                          *
VICTOR HILL, et al.,                      *
                                          *
               Defendants.                *
                                          *


                                       ORDER

      Before this Court is Plaintiff’s pro se motion [Doc. 14] for an extension of

time, presumably to object to the Magistrate Judge’s Report and Recommendation

(“R&R”). [Doc. 5]. In his August 10, 2021 R&R, Magistrate Judge Russell G.

Vineyard recommended that Plaintiff’s case be dismissed for failure to state a claim.

Id. The R&R directed that any objections to the R&R be filed within fourteen days,

which would have been August 24, 2021. On September 23, 2021, the undersigned

adopted the findings of the R&R, thus dismissing Plaintiff’s case, and directed the

clerk to close the case. [Doc. 10]. Plaintiff then filed the present motion for an

extension of time. [Doc. 14]. Having considered Plaintiff’s request, the Court finds

no good cause to grant an extension.
      Case 1:21-cv-02527-ELR Document 15 Filed 09/24/21 Page 2 of 2




     Accordingly, Plaintiff’s pro se motion [Doc. 14] for extension of time is

hereby DENIED.

     SO ORDERED, this 24th day of September, 2021.



                                         ______________________________
                                         Eleanor L. Ross
                                         United States District Judge
                                         Northern District of Georgia




                                     2
